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                      Exhibit B
           Case 2:90-cv-00520-KJM-SCR              Document 7885-2             Filed 07/25/23   Page 2 of 3



From:                Lisa Ells <LElls@rbgg.com>
Sent:                Tuesday, April 25, 2023 11:28 AM
To:                  Kerry F. Walsh; Ambra S. Jackson; Matt Lopes; colemanspecialmaster@pldo.com; Michael W. Bien;
                     Ernest Galvan; Donald Specter; Steve Fama
Cc:                  v_Damon.McClain@doj.ca.gov; v_Elise.Thorn@doj.ca.gov; Paul B. Mello; Samantha Wolff; Kerry F.
                     Walsh; Patricia M. Williams
Subject:             [EXTERNAL] RE: Coleman v. Newsom, E.D. Cal., Case No. 90-cv-00520 KJM [IMAN-DMS.FID12440]


EXTERNAL: Use caution when opening attachments, links or responding to this e‐mail.


Plaintiffs’ counsel will as well, and we request the same notice. Thank you.

From: Walsh Kerry F. <kwalsh@pldolaw.com>
Sent: Tuesday, April 25, 2023 11:26 AM
To: Ambra S. Jackson <AJackson@hansonbridgett.com>; Matt Lopes <mlopes@pldolaw.com>;
colemanspecialmaster@pldo.com; Michael W. Bien <MBien@rbgg.com>; Lisa Ells <LElls@rbgg.com>; Ernest Galvan
<EGalvan@rbgg.com>; Donald Specter <dspecter@prisonlaw.com>; Steve Fama <sfama@prisonlaw.com>
Cc: v_Damon.McClain@doj.ca.gov <Damon.McClain@doj.ca.gov>; Elise Thorn <Elise.Thorn@doj.ca.gov>; Paul B. Mello
<Pmello@hansonbridgett.com>; Samantha Wolff <SWolff@hansonbridgett.com>; Kerry F. Walsh
<kwalsh@pldolaw.com>; Patricia M. Williams <harconwil@gmail.com>
Subject: RE: Coleman v. Newsom, E.D. Cal., Case No. 90‐cv‐00520 KJM

[EXTERNAL MESSAGE NOTICE]
Thank you for your email. Members from the Special Master’s team will be attending all site visits with the defendants’
expert group. Please copy us on all notices of scheduled visits. Thank you.


Kerry F. Walsh, Partner
kwalsh@pldolaw.com
P 401.824.5118 • F 401.824.5123


Pannone Lopes Devereaux & O’Gara LLC
Northwoods Office Park Suite 215 N
1301 Atwood Avenue, Johnston, RI 02919
www.pldolaw.com • Legal Disclaimer

From: Ambra S. Jackson <AJackson@hansonbridgett.com>
Sent: Friday, April 21, 2023 2:49 PM
To: Lopes Matthew <mlopes@pldolaw.com>; colemanspecialmaster@pldo.com; MBien@rbgg.com; LElls@rbgg.com;
EGalvan@rbgg.com; dspecter@prisonlaw.com; sfama@prisonlaw.com; Walsh Kerry F. <kwalsh@pldolaw.com>
Cc: v_Damon.McClain@doj.ca.gov <Damon.McClain@doj.ca.gov>; v_Elise.Thorn@doj.ca.gov <Elise.Thorn@doj.ca.gov>;
Paul B. Mello <Pmello@hansonbridgett.com>; Samantha Wolff <SWolff@hansonbridgett.com>
Subject: Coleman v. Newsom, E.D. Cal., Case No. 90‐cv‐00520 KJM

Hello:

                                                            1
            Case 2:90-cv-00520-KJM-SCR                        Document 7885-2                Filed 07/25/23           Page 3 of 3
Please see attached correspondence for the above‐referenced matter. Should you have any questions, please do not
hesitate to contact our office.


Thank you,
Ambra

  Ambra S. Jackson
  Legal Secretary
  Hanson Bridgett LLP
  (415) 995-6455 Direct
  (415) 541-9366 Fax
  AJackson@hansonbridgett.com

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